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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                     )   CASE NO.: 1:15-CV-01046
                                              )
              Plaintiff,                      )   JUDGE SOLOMON OLIVER, JR.
       vs.                                    )
                                              )   CITY OF CLEVELAND’S NOTICE
CITY OF CLEVELAND,                            )   SUBMITTING MEMORANDUM
                                              )   REGARDING RECENT PROGRESS
              Defendant.                      )   MADE DURING CONSENT DECREE

       The City of Cleveland files this Notice submitting for the Court’s review the

attached August 2, 2022 Memorandum from the City’s Director of Law to Monitor

Hassan Aden. The Memorandum highlights identified areas of ongoing recent progress

accomplished by the Cleveland Division of Police and the Office of Professional

Standards during the Consent Decree. The Director’s Memorandum also addresses for

consideration the Justice Department’s recent implementation of principles and

recommendations regarding the use of monitors in future consent decrees.

                                           Respectfully submitted,

                                           Mark Griffin (0064141)
                                           Director of Law

                                    By:    /s/ Gary S. Singletary
                                           Gary S. Singletary (0037329)
                                           Chief Counsel
                                           City of Cleveland
                                           601 Lakeside Avenue, Room 106
                                           Cleveland, Ohio 44114-1077
                                           Tel: (216) 664-2800 Fax:(216) 664-2663
                                           E-mail: mgriffin@clevelandohio.gov
                                           gsingletary@clevelandohio.gov

                                           Counsel for the City of Cleveland
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                              CERTIFICATE OF SERVICE

       The undersigned certifies that the City of Cleveland’s Notice Submitting

Memorandum Regarding Progress Made During Consent Decree was filed electronically

on August 2, 2022. Notice of this filing will be sent to all parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s

system. Pursuant to the requirements of the Consent Decree the Monitor Team has been

delivered a copy of this filing.

                                              /s/ Gary S. Singletary
                                              Gary S. Singletary (0037329)
                                              Counsel for the City of Cleveland




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